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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:10-cr-00185
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
JOHN DEAN ANDERSON, JR.,            )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 21, 2011, after receiving the written consent of defendant and all counsel. At the

hearing, defendant John Dean Anderson, Jr. entered a plea of guilty to Count 4 of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. In Count 4

of the Indictment, defendant is charged with distribution, and aiding and abetting the distribution

of cocaine, a Schedule II controlled substance in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(C) and 18 U.S.C. § 2. On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count 4 of the Indictment

be accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Date: October 24, 2011                                  /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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